             UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                        AT GREENEVILLE




UNITED STATES OF AMERICA                       )
                                               )
v.                                             )     NO. 2:01-CR-62
                                               )
NOE MORALES-ESTRADA                            )


                                     ORDER


             This criminal matter is before the Court to consider the Motion for

Trial Transcripts and Discovery filed by the defendant. However, federal

prisoners are not entitled to obtain a transcript of testimony at trial at

government expense for the purpose of preparing a motion to vacate where there

was no motion to vacate sentence pending. United States v. MacCollom, 426 U.S.

317, 328 (1976) (plurality opinion); see also Hoover v. United States, 416 F.2d

431 (6th Cir.1969) (per curiam); Corrigan v. Thoms, 2003 WL 343247, *2, 55

Fed.Appx. 754, 756 (6th Cir.(Ky.)); Ketcherside v. United States, 317 F.2d 807,

808 (6th Cir.1963).

             This defendant has no motion to vacate pending.        Therefore, the

defendant is not entitled to obtain transcripts and documents at government



 Case 2:01-cr-00062     Document 291      Filed 02/17/05   Page 1 of 2       PageID #: 1
expense. Accordingly, the defendant's Motion for Trial Transcripts and

Discovery is DENIED. [Doc. 290].



           ENTER:

                                               s/J. RONNIE GREER
                                           UNITED STATES DISTRICT JUDGE




                                      2


 Case 2:01-cr-00062   Document 291   Filed 02/17/05   Page 2 of 2   PageID #: 2
